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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
Araceli Cadenas

               PLAINTIFF,
                                                        Case No. 12 cv 7750
v.                                                      Hon. John J. Tharpe Jr.
Butterfield Health Care Group, Inc. and
Butterfield Health Care II, Inc. d/b/a
Meadowbrook Manor of Naperville

               DEFENDANTS




     PLAINTIFF’S RESPONSE TO PLAINTIFF’S STATEMENT OF FACTS
                  PURSUANT TO LOCAL RULE 56.1(d)

Plaintiff, Araceli Cadenas, by and through her attorney, Wilton A. Person, and in

response to Defendant’s Local Rule 56.1 Statement of Material Facts, states as follows:

I. The Parties, Jurisdiction and Venue.

1. Cadenas is an Illinois resident and a former employee of Meadowbrook. (Compl.
¶¶ 1, 6, 21).

Response: Undisputed.

2. Defendants Butterfield Health Care Group Inc. and Butterfield Health Care II,

Inc., doing business as “Meadowbrook Manor of Naperville,” are Illinois corporations

that provide healthcare services through a nursing home facility in Naperville, Illinois.

(Compl. ¶¶ 2-4).

Response: Undisputed.

3. This Court has jurisdiction over Cadenas’ claims under 42 U.S.C. § 2000(e)(5),

28 U.S.C. § 1331 and 28 U.S.C. § 1343. (Compl. ¶ 5).
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Response: Undisputed

4. Venue is proper in the Northern District of Illinois under 28 U.S.C. § 1391(b)(1)

and (b)(2) and 42 U.S.C. § 2000e-5(f)(3).

Response: Undisputed

5. Meadowbrook Manor of Naperville is one of three Butterfield Health Group

facilities providing comprehensive nursing care and rehabilitation services for

convalescent, chronically ill and retired individuals. (Cadenas Dep. p. 25:4-15; Soppi

Dep. p. 14:2-5; Soppi Decl. ¶ 4, Ex. A, p. CAD000102).

Response: Undisputed

6. On September 20, 2011, Cadenas was hired to work at Meadowbrook’s

Naperville location as a C.N.A. or Certified Nurse Assistant. (Cadenas Dep. pp. 18:22-

23, 24:9-16; Answer ¶ 6; Soppi Decl. ¶ 30).

Response: Undisputed

7. The C.N.A. job description describes the “Major Tasks/Standards of Performance” of

the job and requires (among other things) that C.N.A.s: (a) perform basic nursing

procedures including ROM (range of motion) exercises, placing and removing splints,

bed mobility, transfers, ambulation, locomotion, dressing, bathing, eating and toileting;

(b) lift, move and transfer residents safely; and (c) turn and re-position residents who are

unable to self perform these tasks independently at least every two hours. (Cadenas Dep.

Ex. 1 at CAD000062,64, 65; Soppi Decl. ¶ 19).

Response: Undisputed.

8. Cadenas agrees that the C.N.A. job description is an accurate reflection of her

duties, and signed a copy of the job description upon being hired. (Cadenas Dep. Ex. 1 at
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CAD000067; Cadenas Dep. p. 29:2-5).

Response: Undisputed.

9. Cadenas described the C.N.A. job as being “physically demanding.” (Cadenas

Dep. p. 27: 6-9).

Response: Undisputed.

10. According to Cadenas (and the job description), C.N.A.s bathe, groom and dress

residents, assist residents with walking, transfer residents from beds to wheelchairs, move

residents from one location to another (including for meals, physical therapy and

activities within the facility), assist them in going to the bathroom, and provide physical

help for passive and active range of motion activities (PROM and AROM). (Cadenas

Dep. Ex. 1 at CAD000062;Cadenas Dep. pp. 25:16-26:4, 27:16-29:5; see also Soppi

Decl. ¶ 20).

Response: Undisputed.

11. Cadenas agrees that the C.N.A. job requires pushing over 20 pounds as well as

lifting, moving and transferring residents safely. (Cadenas Dep. p. 49:5-12; 51:13-17;

53:7-13).

Response: Disputed in part. Cadenas agrees that she testified to such statement. Cadenas

denies that the fact is material to her discrimination allegations.

12. None of the residents with whom Cadenas worked weighed less than 20 pounds.

(Cadenas Dep. p. 53:10-13).

Response: Disputed in part. Cadenas agrees that she testified to such statement. Cadenas

denies that the fact is material to her discrimination allegations.

13. To prevent resident or C.N.A. injury in performing patient lifts, moves and
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transfers, Meadowbrook also has a Limited Lift Resident Handling Policy, which

Cadenas acknowledged and signed. (Soppi Decl. ¶ 22, Ex. B; Soppi Dep. p. 19:7-15).

Response: Disputed in part. Cadenas does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

14. According to the Limited Lift Resident Handling Policy, every resident is

classified by the type of assistance they need from C.N.A.s and other trained

professionals in lifts, moves and transfers. (Soppi Decl. ¶ 23, Ex. B).

Response: Disputed in part. Cadenas does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

15. Some residents are able to transfer independently, others require a lift by one

person or two, some require assistance with a “hoyer” or mechanical lifting device, and

still others require lifting with sliding boards and either one or two people. (Soppi Decl. ¶

23, Ex. B).

Response: Disputed in part. Cadenas does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

16. Use of safety or “gait belts” is mandatory under the Limited Lift Resident

Handling Policy. (Soppi Decl. ¶ 24, Ex. B). All C.N.A.s are required to carry gait belts at

all times to assist residents with lifts, moves and transfers. Id.

Response: Disputed in part. Cadenas does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

17. The gait belts are placed around a resident’s chest or waist and used to pull the

resident to standing so that they can be lifted, transferred or moved. (Soppi Decl. ¶ 24,

Ex. B;Cadenas Dep. p. 78:1-9).
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Response: Disputed in part. Cadenas does not dispute the statement. Cadenas denies that

the fact is material to her discrimination allegations.

18. C.N.A.s are required to use their own weight to pull and lift the weight of the

resident. (Soppi Dep. p. 19:7-15; Soppi Decl. ¶ 24, Ex. B; Cadenas Dep. p. 78:1-19).

Response: Disputed in part. Cadenas does not dispute the statement. Cadenas denies that

the fact is material to her discrimination allegations.

19. All of these lifts require the C.N.A. to pull, push and/or lift a minimum of 20

pounds. (Soppi Decl. ¶ 25; Soppi Dep. p. 19:7-15).

Response: Disputed in part. Cadenas does not dispute the statement. Cadenas denies that

the fact is material to her discrimination allegations.

20. Pushing residents in wheelchairs also requires using force of over 20 pounds.

(Soppi Decl. ¶ 25; Cadenas Dep. p. 49:8-15).

Response: Disputed in part. Cadenas does not dispute the statement. Cadenas denies that

the fact is material to her discrimination allegations.

21. Company policy requires that “[e]ach employee hired is expected to fulfill the

essential physical requirements of the job description of his or her position.” (Soppi Decl.

¶ 5,Ex. A, p. CAD000127; Soppi Dep. p. 21:8-13).

Response: Undisputed.

22. Meadowbrook also has a policy of only offering light duty work to employees

who have work-related injuries. (Soppi Dep. pp. 14:20-15:6, 16:2-7, 18:1-11; Soppi Decl.

¶ 6).

Response: Disputed in part. Cadenas denies that the fact is material to her discrimination

allegations. Cadenas does not deny that such an unwritten policy actually exists.
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23. Meadowbrook Manor’s policy does not offer light duty for non-work related

injuries. (Soppi Decl. ¶ 7)

Response: Disputed in part. Cadenas denies that the fact is material to her discrimination

allegations. Cadenas does not deny that such an unwritten policy actually exists.

24. Employees with a non-work related injury and/or work restrictions are not offered

light duty but may take one or more types of leave offered by Meadowbrook if eligible.

(Soppi Decl. ¶ 8; Ex. A, pp. CAD000120-125).

Response: Disputed in part. Cadenas denies that the fact is material to her discrimination

allegations. Cadenas does not deny that such an unwritten policy actually exists.

25. Company policy provides for several employee leave opportunities, including

FMLA leave, disability leave or personal leave, if the employee has been employed for

over a year. (Soppi Decl. ¶ 9; Ex. A, pp. CAD000120-125).

Response: Undisputed.

26. If an employee with a non-work related restriction has not been employed for

over a year, the Company considers the restriction to be a voluntary resignation with the

option to return to work once the restriction is lifted. (Soppi Decl. ¶ 10).

Response: Disputed. Cadenas disputes that the Defendant considers the restriction to be

a voluntary resignation with the option to return to work once the restriction is lifted.

Pl. Ex. B., Soppi Dep pg. Pg. 19, 16- 22, Pg. 20, 1-4. Pg. 29, 19-22, Pg. 30, 3-15, Pg. 31,

1-22, Pg. 32, 1-16., Pg. 33, 18-21.; Defendant’s Tab A, Cadenas Dep. Pg. 61, 1-9, Pg.

84, 3-10; Defendant’s Tab C, Exhibit A, CAD 000139; see also Pl. Ex. E; Pl. Ex. K, Pg.

2, ¶7.

27. Employees who become pregnant and are allowed to work without restriction
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continue to work as scheduled throughout their pregnancies. (Soppi Dep. p. 18:1-3; Soppi

Decl.¶ 11).

Response: Undisputed.

28. Within the last five years, at least seven other pregnant employees who were not

restricted by doctor’s notes during their pregnancies worked during their pregnancies

until they each decided to take some form of leave as described above: Emily Badota,

R.N., Danell Evans, C.N.A., Tashanda Randall, C.N.A., Daisy Habon, R.N., Annabel

Chavez, C.N.A., MariaPerez, C.N.A. and Irma Almanza de Perez, C.N.A. (Soppi Decl. ¶

12).

Response: Disputed in part. Cadenas does not dispute that Soppi’s declaration contains

such statements. Cadenas denies that the fact is material to her discrimination allegations.

29. No Meadowbrook Manor employee has ever been offered light duty for

restrictions related to a non-work related injury, including for pregnancy. (Soppi Decl. ¶

13).

Response: Disputed in part. Cadenas does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

Objection: Factual assertion is not supported by documentary evidence.

30. Cadenas was unaware of Meadowbrook’s policy of offering light duty only for

work-related injuries. (Cadenas Dep. p. 40:5-7; Cadenas Dep. Ex. 2).
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Response: Disputed. Cadenas was not initially aware that Defendant’s had any “light

duty” policy. Pl. Ex. A, Cadenas Excerpt Dep. Pg. 5:7-211; Pl. Ex. B. Soppi Dep. Pg.

14:20-22, Pg. 15:1-3.

31. On May 7, 2012, Cadenas saw her physician Dr. Dawn Collier because she was

pregnant. (Cadenas Dep. 46:5-18).

Response: Undisputed

32. Cadenas explained that she was a C.N.A. for Meadowbrook and that she helped

“residents with their activities of daily living as far as helping them get in their

wheelchair changing them, et cetera, et cetera.” (Cadenas Dep. p. 46:5-18).

Response: Undisputed.

33. Dr. Collier wrote a note stating that Cadenas was 14 weeks pregnant and that

“Activity is restricted as follows: No lifting, pushing, pulling over 20 pounds.” (Compl. ¶

9;Cadenas Dep. p. 44:6-16, 46:19-47:9; Cadenas Dep. Ex. 5).

Response: Disputed. Rule of Completeness. The full content of the letter is not stated in

the statement. Cadenas does not dispute that the note stated in part that Cadenas was 14

weeks pregnant and that “Activity is restricted as follows: no lifting, pushing, pulling

over 20 lbs.” Cadenas does not dispute that Defendant’s Cadenas Dep. Ex. 5 is an

accurate and fair representation of the first letter that Dr. Collier wrote.

34. At some point in the days following May 7, 2012, Cadenas delivered the note to

Meadowbrook. (Soppi Dep. pp. 18:12-19:6).




1
 The court is advised that Araceli Cadenas’ excerpt deposition, labeled as Pl. Ex. A is
numbered pps 1-14 and should not be confused with the page numbering for Defendant’s
Tab A Deposition of Cadenas although the examination was conducted on the same day.
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Response: Disputed. Cadenas delivered the first note from Dr. Collier to Joan Soppi on

May 7, 2012. Pl. Ex. A Cadenas Excerpt Dep. Pg. 6:5-10

35. At some point between May 7 and 17, Cadenas received a voicemail from Soppi

informing her that Meadowbrook does not offer light duty to pregnant employees, that

she needed a note lifting her restrictions to return to work and that until she was released

to full duty, Soppi would need to remove her from the schedule. (Cadenas Dep. p. 84:11-

85:1; see also Soppi Dep. Ex. 1; Soppi Dep. pp. 18:12-19:6, 19:16-20:4).

Response: Disputed in part. Cadenas received a voicemail from Joan Soppi after May 7,

2012 but disputes that she was informed that Meadowbrook does not offer light duty to

pregnant employees to the extent that she was already aware of this fact based upon her

conversation with Soppi on May 7, 2012. Cadenas does not dispute that a summary of the

voice mail is that Cadenas would need a note lifting her restrictions to return to work.

Cadenas disputes that the voicemail stated that until she was released to full duty, Soppi

would remove her from the schedule. Pl. Ex. B., Soppi Dep pg. Pg.20: 5-11, Pg. 21: 20-

22, Pg. 22:1-14; Pl. Ex. A., Cadenas Excerpt Dep. Pg. 8: 21-24, Pg. 9: 1-24.; Defendant’s

Tab C, Exhibit C; see also Pl. Exhibit F; Pl. Exhibit K, Pg. 2, ¶¶10-14.

36. The voicemail stated: “Araceli - this is Joan. We need that note to say that you

are able to work at full duty. Cuz if not, then we are going to have the letter that you did

give us is going to be considered a resignation letter because we don’t put people on light

duty who are pregnant. And if you are needing light duty, then we would have to take

you off the schedule until after you have your baby. So it’s one way or the other. We

need you to get us that letter before you can come back to work….” (Soppi Decl. ¶ 32,

Ex. C; Soppi Dep. p. 20:5-19).
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Response: Disputed. Rule of Completeness. The full content of the voice message is not

stated in the assertion. Cadenas disputes the statement in its entirety because it is

incomplete and leaves out important context. Cadenas agrees that Defendant’s Tab C,

Exhibit C is a fair and accurate representation of a transcript of the voicemail message,

see also Pl. Ex. G.

37. On May 15, 2012, Cadenas did not show up for work. (Cadenas Dep. p. 85:21-

86:19).

Response: Disputed. Cadenas disputes the improper characterization that she did not

“show up for work”. Exhibit K, Pg. ¶16-18.

38. Soppi considered Cadenas a voluntary resignation and asked Meadowbrook’s

Director of Nursing to remove Cadenas from the schedule. (Soppi Dep. pp. 21:20-22:6).

Response: Disputed. Cadenas does not dispute that Soppi testified to the above

statement but disputes that Soppi considered Cadenas a voluntary resignation. Cadenas

disputes that Soppi asked the Director of Nursing to remove her from the schedule prior

to May 17, 2012. Pl. Ex. A., Cadenas Excerpt Dep. Pg. 11: 12-24, Pg. 12: 1, Pl. Ex. B.,

Soppi Dep pg. Pg.20: 5-11, Pg. 21: 20-22, Pg. 22:1-14, Pg. 23:7-22, Pg. 24:1-6;

Defendant’s Tab A, Cadenas Dep. Pg. 61: 2-9, Pg. 84: 11-24, Pg. 85: 1; Defendant’s Tab

C, Exhibit C; see also Pl. Exhibit F; Pl. Ex. K, Pg. 2, ¶7.

39. On or around May 17, 2012, Dr. Collier wrote another note stating that Cadenas

was 15 weeks pregnant and that “Activity is restricted as follows: no lifting, pushing,

pulling over 20 lbs after 20 weeks of gestation.” (Cadenas Dep. p. 58:13-16; Cadenas

Dep. Ex. 4 at Exhibit B).
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Response: Disputed. Objection: Rule of Completeness. The full content of the letter is

not stated in the statement. Cadenas disputes when the letter was written. Cadenas does

not dispute that the note stated in part that Cadenas was 15 weeks pregnant and that

“Activity is restricted as follows: no lifting, pushing, pulling over 20 lbs after 20 weeks

of gestation. See Pl. Ex. D.

40. On the same day, Cadenas returned to work and saw her name removed from the

schedule. (Cadenas Dep. pp. 59:24-60:24).

Response: Disputed. The date is not identified in the statement above. To the extent that

the statement refers to May 17, 2012, Cadenas does not dispute that she returned to work.

on this day. Cadenas does not dispute that she was removed from the schedule on May

17, 2012.

41. Cadenas went to Soppi to ask her why her name was removed and gave the

second note to Soppi. (Cadenas Dep. p. 61:1-3; Cadenas Dep. Ex. 4 at Exhibit B).

Response: Undisputed to the extent that the date referenced is May 17, 2012.

42. Soppi informed Cadenas that she had taken her off the schedule because she had

weight restrictions on her ability to work, that Meadowbrook does not offer light duty for

nonwork related injuries or conditions, and that she could come back to work after the

baby was born. (Cadenas Dep. p. 61:1-9; Soppi Dep. pp. 23:7-24:6).

Response: Disputed. Cadenas disputes the accuracy of the above referenced conversation

between herself and Soppi. The factual assertion above is not supported by the specific

citation to the depositions. Cadenas, Dep. Pg. 61:1-9, Pl. Ex. A Cadenas Excerpt Dep. Pg.

11, 15-24, pg. 12, 1-13; Pl. Ex. B., Soppi Dep. Pg. 26: 1-14; Defendant’s Tab A,

Deposition Ex. 4; see also Pl. Exhibit D; Pl. Ex K, Pg. 3,¶¶20-26
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43. In a document titled “Personnel Change of Status,” dated May 17, 2012, Soppi

listed Cadenas’ status as a resignation, stating “can not work full duty C.N.A. position

due to pregnancy with doctor note restrictions.” (Soppi Dep. Ex. 5).

Response: Disputed . Cadenas agrees that the document states the information as

described but disputes that she resigned and that she was unable to work full duty on May

17, 2012. Cadenas, Dep. Pg. 61:1-9; Pl. Ex. A, Cadenas Excerpt Dep. Pg. 11, 15-20, 22-

24, Pg. 12, 1-12; Pl. Ex. C.; Pl. Ex. B., Soppi Dep. Pg. 24, 15-22, Pg. 25, 1-10, Pg. 26, 1-

14, Pg. 26, 16-22, Pg. 27 6-11, 16-22, see also, Pg. 10, 5-11, Pg. 28 16-22

44. Soppi did not offer Cadenas FMLA, disability leave or personal leave because she

was not employed for at least a year. (Soppi Decl. ¶¶ 9, 30).

Response: Objection. State of Mind. Cadenas does not dispute that Soppi testified that

she did not offer Cadenas FMLA, disability leave or personal leave because she was not

employed for at least a year. To the extent that Soppi did not offer FMLA, disability

leave or personal leave as it is consistent with the written Butterfield Health Care group

Employee Handbook, Cadenas does not dispute this fact.

45. Cadenas gave birth on November 3, 2012. (Cadenas Dep. p. 10:7-8).

Response: Undisputed.

46. Following the birth of her child, Cadenas never requested to return to work at

Meadowbrook. (Cadenas Dep. p. 61:10-21).

Response: Undisputed.

47. On December 12, 2012, Soppi wrote Cadenas a letter offering to unconditionally

return Cadenas to her position as a C.N.A. (Cadenas Dep. Ex. 7).

Response: Undisputed.
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48. Cadenas refused the offer of re-employment. (Cadenas Dep. p. 63:10-64:22).

Response: Undisputed.

49. Cadenas’ only basis for believing that she was discriminated against on the basis

of pregnancy is because Meadowbrook does not offer light duty to employees with non-

work related injuries or conditions. (Cadenas Dep. p. 41:6-42:3).

Response: Disputed. Objection: Legal Conclusion. The material cited does not support

this specific allegation because there is no mention in the cited pages of the terms “only”,

“light duty”, or “non-work related injuries or conditions”. The prior line of questioning

prior to the cited material is ambiguous and confusing. Cadenas denies that the only basis

for believing that she was discriminated against on the basis of pregnancy was because

Meadowbrook does not offer light duty to employees with non-work related injuries or

conditions. Cadenas does not consider Defendant’s “light duty” policy as a basis of

discrimination for her claims. Cadenas Dep. Pg 40: 17-19, 23-24; Pg 41: 1-23; Pl. Ex. A,

Cadenas Excerpt Dep. Pg. 6, 24, Pg. 11, 15-24, Pg. 12, 1-12; Pl. Ex. K, ¶ 20.

50. Cadenas filed a charge of discrimination with the EEOC, but the agency was

“unable to conclude that the information obtained establishes violations of the statutes”

and issued a “Notice of Suit Rights.” (Compl. Ex. C; Cadenas Dep. Ex. 6).

Response: Disputed. Rule of Completeness. Legal Conclusion. Cadenas does not dispute

that she filed a charge of discrimination. Cadenas does not dispute that the EEOC issued

her a letter that provided her notice of her suit rights. Cadenas does not dispute that the

letter stated in part that the agency was unable to conclude that the information obtained

established violations of the federal statutes. However, Cadenas denies the truth of the
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assertion because the fact asserted is incomplete, immaterial, and suggests an improper

inference. Pl. Ex. H.

51. No other Meadowbrook employee has received light duty work for a non-work

related injury at Meadowbrook. (Cadenas Dep. 69:6-11; Soppi Decl. ¶ 13).

Response: Disputed in part. Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

Objection: Factual assertion is not supported by documentary evidence.

52. In 2012, Meadowbrook employee Sarah Choi, a Restorative Aide, sustained a

non-work related back injury for which she requested light duty. (Soppi Decl. ¶ 14).

Response: Disputed in part. Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas disputes that the fact is material to her discrimination

allegations.

53. Choi’s request was denied because Meadowbrook does not provide light duty for

non-work related injuries. (Soppi Decl. ¶ 14).

Response: Disputed in part Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

54. Choi returned to work after being cleared for full duty by her physician. (Soppi

Decl. ¶ 14).

Response: Disputed in part. Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

55. Also in 2012, Meadowbrook employee Rachel Barkley, a C.N.A., broke her hand

at home and requested light duty. (Soppi Decl. ¶ 15).
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Response: Disputed in part. Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

56. Barkley’s request was denied because Meadowbrook does not provide light duty

for non-work related injuries. (Soppi Decl. ¶ 15).

Response: Disputed in part. Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

57. Barkley returned to work after being cleared for full duty by her physician. (Soppi

Decl. ¶ 15).

Response: Disputed in part. Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

58. Cadenas named two potential comparators in her deposition: “Irma” who she

contends had light duty and another unnamed C.N.A. “who had light duty” because of

“something about her arm.” (Cadenas Dep. pp. 69:12-20; 70:14-71:14).

Response: Disputed. Objection. The factual assertion is a legal conclusion and suggests

an improper inference. Cadenas disputes that the fact is material to her discrimination

allegations. Cadenas disputes that she labeled the persons referenced as comparators in

her deposition. The cited material by Defendant does not support that Cadenas labeled the

persons as comparators. Cadenas does not dispute that she named Irma and another

unnamed person as persons that she knew had light duty. Cadenas Dep. Pg. 69:12-20;

Pg. 70:14, Pg.71:14.

59. Cadenas did not remember whether the C.N.A. had hurt her arm while working or

not working. (Cadenas Dep. p. 70:2-9).
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Response: Disputed in part. Cadenas agrees that she testified to the statement. Cadenas

denies that the fact is material to her discrimination allegations.

60. The only “Irma” who has been employed at Meadowbrook is Irma Almanza de

Perez, a C.N.A. (Soppi Decl. ¶ 17).

Response: Disputed in part. Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

61. Almanza de Perez did not request or receive light duty for any non-work related

injury or for either of two pregnancies. (Soppi Decl. ¶ 17).

Response: Disputed in part. Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

62. The only Meadowbrook employee with an arm injury was Christina Forget, a

C.N.A. (Soppi Decl. ¶ 18).

Response: Disputed in part. Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

63. Forget injured her right arm at Meadowbrook while turning a resident. (Soppi

Decl. ¶ 18).

Response: Disputed in part. Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

64. Forget received light duty for her work related injury. (Soppi Decl. ¶ 18).

Response: Disputed in part. Plaintiff does not dispute that Soppi’s declaration contains

such statement. Cadenas denies that the fact is material to her discrimination allegations.

65. Cadenas also alleges that Meadowbrook violated the Illinois Personnel Record

Review Act by failing to provide her personnel file. (Compl. ¶ 32).
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Response: Undisputed.

66. Cadenas received her personnel file from Meadowbrook. (Cadenas Dep. pp.

67:23-68:3).

Response: Undisputed.

67. Cadenas did not file a claim with the Illinois Department of Labor alleging that

she had been denied her personnel records. (Cadenas Dep. p. 68:4-10).

Response: Undisputed.




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                                                             Respectfully submitted,
                                                             Araceli Cadenas
                                                              By: /s/ Wilton A. Person
    Wilton A. Person                                           Attorney for Plaintiff
    Attorney for Plaintiff
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    815-254-2467
    Dated: August 22, 2013
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                         UNITED STATES DISTRICT COURT
                         NORTHERN DISTRICT OF ILLINOIS
                               EASTERN DIVISION
Araceli Cadenas

               PLAINTIFF,
                                                      Case No. 12 cv 7750
v.                                                    Hon. John J. Tharpe Jr.
Butterfield Health Care Group, Inc. and
Butterfield Health Care II, Inc. d/b/a
Meadowbrook Manor of Naperville

               DEFENDANTS




                                CERTIFICATE OF SERVICE

I hereby certify that on August 22, 2013, I electronically filed the foregoing Response to
Defendant’s Local Rule 56.1(d) Statement of Facts with the Clerk of Court using the
CM/ECF system, which will send notification of the filing to the following:


Mary Ellen Vales
Ross H. Friedman
Morgan, Lewis & Bockius LLP
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                                     s/Wilton A. Person
                                     ____________________
                                     Wilton A. Person, Attorney for Plaintiff
